          Case 8:19-bk-12960-CB                      Doc 40 Filed 12/01/19 Entered 12/01/19 02:11:42                                Desc
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 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Derik N. Lewis 219981
 120 Vantis Dr Suite 300
 Aliso Viejo, CA 92656
 949-216-0935 Fax: 949-296-0935
 State Bar Number:219981 CA
 info@vantislaw.com




     Debtor appearing without an attorney
     Attorney for Debtor

                                                    UNITED STATES BANKRUPTCY COURT
                                                     CENTRAL DISTRICT OF CALIFORNIA
 In re:
 Collin Gibellino                                                         CASE NUMBER: 8:19-bk-12960-CB

                                                                          CHAPTER     7

                                                                                 DEBTOR'S NOTICE OF MOTION AND MOTION
                                                                                  TO AVOID LIEN UNDER 11 U.S.C. § 522(f)
                                                                                           (REAL PROPERTY)


                                                                                 [No hearing required unless requested under LBR 9013-1(o)]
                                                             Debtor(s).

 Creditor Name: LADERA RANCH MAINTENANCE CORPORATION


TO THE CREDITOR, ATTORNEY FOR CREDITOR AND OTHER INTERESTED PARTIES:

1. NOTICE IS HEREBY GIVEN that Debtor moves this court for an order, pursuant to LBR 9013-1(o) upon notice of
   opportunity to request a hearing (i.e., without a hearing unless requested), avoiding a lien on the grounds set forth
   below.

2. Deadline for Opposition Papers:
   Pursuant to LBR 9013-1(o), any party opposing the motion may file and serve a written opposition and request a
   hearing on this motion. If you fail to file a written response within 14 days of the date of service of this notice of
   motion and motion, plus an additional 3 days unless this notice of motion and motion was served by personal delivery
   or posting as described in Federal Rules of Civil Procedure 5(b)(2)(A)-(B), the court may treat such failure as a waiver
   of your right to oppose this motion and may grant the requested relief.

3. Type of Case:
   a.    A voluntary petition under Chapter                         7         11    12       13 was filed on:            July 30, 2019
   b.    An involuntary petition under Chapter                      7         11 was filed on:
         An order of relief under Chapter                           7         11 was entered on:
   c.    An order of conversion to Chapter                          7         11    12       13 was entered
                                                                                               on:
     d.       Other:


                  “Bankruptcy Code” and “11 U.S.C.” refer to the United States Bankruptcy Code, Title 11 of the United States Code.
             “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.

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4. Procedural Status:
   a.    Name of trustee appointed (if any):              Thomas H Casey
   b.    Name of Attorney of Record for Trustee (if any):

5. Debtor claims an exemption in the subject real property under:
   a.     California Code of Civil Procedure §    (Homestead): Exemption amount claimed on schedules: $
   b.     California Code of Civil Procedure § 703.140 Exemption amount claimed on schedules: $ 1.00
   c.     Other statute (specify):

6. Debtor's entitlement to an exemption is impaired by judicial lien, the details of of the lien are as follows:
   a. Date of entry of judgment (specify): December 3, 2018
   b. Case name (specify): Ladera Ranch Maintenance Corporation v. Collin Gibellino; Lauren Anderson
   c. Name of court: Orange County Superior Court
   d. Docket number (specify) 30-2018-00991851-CL-CL-CJC
   e. Date (specify): February 9, 2017; and place (specify) Official Records, Orange County
                               January 24, 2019;
                               May 30, 2019
          of recordation of lien
     f.   Recorder's instrument number (specify):             2017000058851; 2019000023095; 2019000183839

7. The property claimed to be exempt is as follows:
   a. Street address, city, county and state, where located, (specify):                    8 Snapdragon St, Ladera Ranch, California
              92694

     b. Legal description (specify):          Real property in the unincorporated area of the County of Orange, State of California,
                                              described as follows:

                                              PARCEL NO. 1

                                              LOT 66 OF TRACT NO. 16105, AS SHOWN ON A SUBDIVISION MAP ("MAP") FILED ON
                                              OCTOBER 22, 2001, IN BOOK 823, AT PAGES 18 TO 26, INCLUSIVE, OF
                                              MISCELLANEOUS MAPS, IN THE OFFICE OF THE ORANGE COUNTY RECORDER.

                                              EXCEPTING FROM THE PROPERTY, ALL OIL, OIL RIGHTS, MINERALS, MINERALS
                                              RIGHTS, NATURAL GAS RIGHTS AND OTHER HYDROCARBONS BY WHATSOEVER
                                              NAME KNOWN, GEOTHERMAL STEAM, AND ALL PRODUCTS DERIVED FROM ANY
                                              OF THE FOREGOING, THAT MAY BE WITHIN OR UNDER THE PROPERTY, TOGETHER
                                              WITH PERPETUAL RIGHT OF DRILLING, MINING, EXPLORING AND OPERATING
                                              THEREFOR, AND STORING IN AND REMOVING THE SAME FROM SAID PROPERTY
                                              OR ANY OTHER LAND, INCLUDING THE RIGHT TO WHIPSTOCK OR DIRECTIONALLY
                                              DRILL AND MINE FROM LANDS OTHER THAN THE PROPERTY, OIL OR GAS WELLS,
                                              TUNNELS AND SHAFT INTO, THROUGH OR ACROSS THE SUBSURFACE OF THE
                                              PROPERTY, AND TO BOTTOM SUCH WHIPSTOCKED OR DIRECTIONALLY DRILLED
                                              WELLS, TUNNELS AND SHAFTS UNDER AND BENEATH OR BEYOND THE EXTERIOR
                                              LIMITS THEREOF, AND TO REDRILL, RETUNNEL, EQUIP, MAINTAIN, REPAIR,
                                              DEEPEN AND OPERATE ANY SUCH WELLS OR MINES, WITHOUT, HOWEVER, THE
                                              RIGHT TO DRILL, MINE, STORE, EXPLORE AND OPERATE THROUGH THE SURFACE
                                              OR THE UPPER FIVE HUNDRED (500) FEET OF THE SUBSURFACE OF THE
                                              PROPERTY, AS RESERVED BY LADERA DEVELOPMENT COMPANY, L.L.C. IN THE
                                              DEED RECORDED DECEMBER 10, 1996 AS INSTRUMENT NO. 19960624029, OF
                                              OFFICIAL RECORDS OF ORANGE COUNTY, CALIFORNIA ("OFFICIAL RECORDS").

                                              ALSO EXCEPTING FROM THE PROPERTY, ANY AND ALL WATER, WATER RIGHTS
                                              OR INTERESTS THEREIN APPURTENANT OR RELATING TO THE PROPERTY OR
                                              OWNED OR USED BY LADERA DEVELOPMENT COMPANY, L.L.C. IN CONNECTION
                                              WITH OR WITH RESPECT TO THE PROPERTY (NO MATTER HOW ACQUIRED BY
                                              LADERA DEVELOPMENT COMPANY, L.L.C.), WHETHER SUCH WATER RIGHTS
                                              SHALL BE RIPARIAN, OVERLYING, APPROPRIATIVE, LITTORAL, PERCOLATING,
                                              PRESCRIPTIVE, ADJUDICATED, STATUTORY OR CONTRACTUAL, TOGETHER WITH
                                              THE RIGHT AND POWER TO EXPLORE, DRILL, REDRILL, REMOVE AND STORE THE
                                              SAME FROM OR IN THE PROPERTY OR TO DIVERT OR OTHERWISE UTILIZE SUCH
________________________________________________________________________________
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                                              WATER, RIGHTS OR INTEREST ON ANY OTHER PROPERTY OWNED OR LEASED BY
                                              LADERA DEVELOPMENT COMPANY, L.L.C.; BUT WITHOUT HOWEVER, ANY RIGHT
                                              TO ENTER UPON THE SURFACE OF THE PROPERTY OR THE UPPER ONE HUNDRED
                                              (100) FEET OF THE SUBSURFACE OF THE PROPERTY IN THE EXERCISE OF SUCH
                                              RIGHTS IN ANY AREA THAT MAY BE DEVELOPED UNDER GOVERNMENTAL LAWS,
                                              ORDINANCES OR REGULATIONS, AS RESERVED BY LADERA DEVELOPMENT
                                              COMPANY, L.L.C., IN THE DEED RECORDED DECEMBER 10, 1996 AS INSTRUMENT
                                              NO. 19960624029 OF OFFICIAL RECORDS.

                                              PARCEL NO. 2

                                              NON-EXCLUSIVE EASEMENTS FOR ACCESS, INGRESS, EGRESS, USE AND
                                              ENJOYMENT, DRAINAGE, ENCROACHMENT, MAINTENANCE AND REPAIRS, ALL AS
                                              DESCRIBED IN THE MASTER DECLARATION OF COVENANTS, CONDITIONS,
                                              RESTRICTIONS AND RESERVATION OF EASEMENTS FOR LADERA RANCH
                                              ("MASTER DECLARATION"), RECORDED JUNE 18, 1999 AS INSTRUMENT NO.
                                              19990456273, AND THE SUPPLEMENTAL MASTER DECLARATION OF COVENANTS,
                                              CONDITIONS, RESTRICTIONS AND RESERVATION OF EASEMENTS FOR PHASE 5 OF
                                              SAVANNAH, RECORDED MAY 13, 2002 AS INSTRUMENT NO. 20020398478, AND
                                              AMENDED BY THE FIRST AMENDMENT TO SUPPLEMENTAL MASTER DECLARATION
                                              OF COVENANTS, CONDITIONS, RESTRICTIONS AND RESERVATION OF EASEMENTS
                                              FOR PHASE 5 OF SAVANNAH, RECORDED JULY 18, 2002 AS INSTRUMENT NO.
                                              20020598706 (COLLECTIVELY THE "SUPPLEMENTAL DECLARATION"), OF OFFICIAL
                                              RECORDS OF ORANGE COUNTY, CALIFORNIA, AND THE MAP.

                                              PARCEL NO. 3

                                              A SIDEYARD EASEMENTS AS APPLICABLE, FOR SIDEYARD PURPOSES OVER A
                                              PORTION OF THE LOT ADJOINING AND ABUTTING THE PROPERTY AS SHOWN AND
                                              DESCRIBED IN THE SUPPLEMENTAL DECLARATION, SUBJECT TO THE USE
                                              RESTRICTIONS SET FORTH IN THE SUPPLEMENTAL DECLARATION.

                                              APN: 759-591-04

                                                                                                                              See attached page

8. Debtor acquired the property claimed exempt on the following date (specify): September 20, 2016

9. Debtor alleges that the fair market value of the property claimed exempt is: $ 580,000.00

10. The subject property is encumbered with the following liens (list mortgages and other liens in order of priority and
    place an "X" as to the lien to be avoided by this motion):

                                                           Date Lien             Original Lien           Current Lien              Date of
         Name of Lien Holder                 "X"
                                                           Recorded                Amount                  Amount                Current Lien
                                                      September 22,
     Caliber Home Loans, Inc.                             2016                $578,500.00             $672,564.05             April 30, 2018
     Citibank (South Dakota) N.A.                     July 13, 2010           $3,221.00               $3,221.00               July 13, 2010
     Ladera Ranch Maintenance
          Corporation                                 February 9, 2017        $1,126.12               $1,126.12               February 9, 2017
     United States of America                         December 6, 2018        $75,545.10              $75,545.10              December 6, 2018
     Ladera Ranch Maintenance
          Corp.                                       January 24, 2019        $15,753.41              $15,753.41              January 24, 2019
     Ladera Ranch Maintenance
          Corporation                                 May 30, 2019            $16,197.29              $16,197.29              May 30, 2019
     Alexander & Veronica Z c/o
          County of Orange                            April 22, 2019          $2,604.39               $2,604.39               April 22, 2019
     Felicia M c/o County of
          Orange                                      April 22, 2019          $1,870.00               $1,870.00               April 22, 2019
     Melissa H c/o County of
          Orange                                      April 22, 2019          $323.23                 $323.23                 April 22, 2019


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     Shelly M c/o County of
         Orange                                       April 22, 2019          $146.00                 $146.00                 April 22, 2019

11. Debtor attaches copies of the following documents in support of the motion (as appropriate):
    a.     Schedule C to bankruptcy petition listing all exemptions claimed by Debtor Attached hereto as Exhibit 18 to
               Declaration of Collin Gibellino
     b.       Appraisal of the property Attached hereto as Exhibit 17 to Declaration of Collin Gibellino; Attached hereto as
               Exhibit 1 to Declaration of Thomas Fairbanks
     c.       Documents showing current balance due as to the liens specified in paragraph 11 above Attached hereto as
               Exhibits 6 through 16 to Declaration of Collin Gibellino
     d.       Recorded Abstract of Judgment Attached hereto as Exhibit 4 to Declaration of Collin Gibellino
     e.       Recorded Declaration of Homestead (Homestead Exemption)
     f.       Declaration(s) Declaration of Collin Gibellino; Declaration of Thomas Fairbanks
     g.       Other (specify):             Memorandum of Points and Authorities

12. Total number of attached pages of supporting documentation: 219

13. Debtor declares under penalty of perjury under the laws of the United States of America that the foregoing is true and
    correct [28 U.S.C. § 1746(1) and (2)].

WHEREFORE, Debtor requests that this court issue an order avoiding Creditor's lien in the form of the Attachment to this
motion.

 Executed on (date): November 30, 2019
                                                                           Signature of Debtor

                                                                           Collin Gibellino
                                                                           Printed name of Debtor
 Date:        November 30, 2019                                            /s/ Derik N. Lewis
                                                                           Signature of Attorney for Debtor

                                                                           Derik N. Lewis 219981
                                                                           Printed name of Attorney for Debtor




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                                     ATTACHMENT TO MOTION/ORDER
                  (11 U.S.C. § 522(f): AVOIDANCE OF REAL PROPERTY JUDICIAL LIENS)

This court makes the following findings of fact and conclusions of law:
1.      Creditor Lienholder/Servicer:        LADERA RANCH MAINTENANCE CORPORATION                                  .

2.       Subject Lien: Date and place of recordation of lien (specify): February 9, 2017; January 24, 2019; May 30,
         2019 . Recorders instrument number or document recording number:        2017000058851; 2019000023095;
         2019000183839

3.       Collateral: Street address, city, county and state, where located, legal description and/or map/book/page
         number, including county of recording:    8 Snapdragon St, Ladera Ranch, California 92694 .      See attached
         page.

Real property in the unincorporated area of the County of Orange, State of California, described as follows:

         PARCEL NO. 1

         LOT 66 OF TRACT NO. 16105, AS SHOWN ON A SUBDIVISION MAP ("MAP") FILED ON OCTOBER 22, 2001, IN BOOK
         823, AT PAGES 18 TO 26, INCLUSIVE, OF MISCELLANEOUS MAPS, IN THE OFFICE OF THE ORANGE COUNTY
         RECORDER.

         EXCEPTING FROM THE PROPERTY, ALL OIL, OIL RIGHTS, MINERALS, MINERALS RIGHTS, NATURAL GAS RIGHTS
         AND OTHER HYDROCARBONS BY WHATSOEVER NAME KNOWN, GEOTHERMAL STEAM, AND ALL PRODUCTS
         DERIVED FROM ANY OF THE FOREGOING, THAT MAY BE WITHIN OR UNDER THE PROPERTY, TOGETHER WITH
         PERPETUAL RIGHT OF DRILLING, MINING, EXPLORING AND OPERATING THEREFOR, AND STORING IN AND
         REMOVING THE SAME FROM SAID PROPERTY OR ANY OTHER LAND, INCLUDING THE RIGHT TO WHIPSTOCK OR
         DIRECTIONALLY DRILL AND MINE FROM LANDS OTHER THAN THE PROPERTY, OIL OR GAS WELLS, TUNNELS
         AND SHAFT INTO, THROUGH OR ACROSS THE SUBSURFACE OF THE PROPERTY, AND TO BOTTOM SUCH
         WHIPSTOCKED OR DIRECTIONALLY DRILLED WELLS, TUNNELS AND SHAFTS UNDER AND BENEATH OR BEYOND
         THE EXTERIOR LIMITS THEREOF, AND TO REDRILL, RETUNNEL, EQUIP, MAINTAIN, REPAIR, DEEPEN AND
         OPERATE ANY SUCH WELLS OR MINES, WITHOUT, HOWEVER, THE RIGHT TO DRILL, MINE, STORE, EXPLORE AND
         OPERATE THROUGH THE SURFACE OR THE UPPER FIVE HUNDRED (500) FEET OF THE SUBSURFACE OF THE
         PROPERTY, AS RESERVED BY LADERA DEVELOPMENT COMPANY, L.L.C. IN THE DEED RECORDED DECEMBER
         10, 1996 AS INSTRUMENT NO. 19960624029, OF OFFICIAL RECORDS OF ORANGE COUNTY, CALIFORNIA
         ("OFFICIAL RECORDS").

         ALSO EXCEPTING FROM THE PROPERTY, ANY AND ALL WATER, WATER RIGHTS OR INTERESTS THEREIN
         APPURTENANT OR RELATING TO THE PROPERTY OR OWNED OR USED BY LADERA DEVELOPMENT COMPANY,
         L.L.C. IN CONNECTION WITH OR WITH RESPECT TO THE PROPERTY (NO MATTER HOW ACQUIRED BY LADERA
         DEVELOPMENT COMPANY, L.L.C.), WHETHER SUCH WATER RIGHTS SHALL BE RIPARIAN, OVERLYING,
         APPROPRIATIVE, LITTORAL, PERCOLATING, PRESCRIPTIVE, ADJUDICATED, STATUTORY OR CONTRACTUAL,
         TOGETHER WITH THE RIGHT AND POWER TO EXPLORE, DRILL, REDRILL, REMOVE AND STORE THE SAME FROM
         OR IN THE PROPERTY OR TO DIVERT OR OTHERWISE UTILIZE SUCH WATER, RIGHTS OR INTEREST ON ANY
         OTHER PROPERTY OWNED OR LEASED BY LADERA DEVELOPMENT COMPANY, L.L.C.; BUT WITHOUT HOWEVER,
         ANY RIGHT TO ENTER UPON THE SURFACE OF THE PROPERTY OR THE UPPER ONE HUNDRED (100) FEET OF
         THE SUBSURFACE OF THE PROPERTY IN THE EXERCISE OF SUCH RIGHTS IN ANY AREA THAT MAY BE
         DEVELOPED UNDER GOVERNMENTAL LAWS, ORDINANCES OR REGULATIONS, AS RESERVED BY LADERA
         DEVELOPMENT COMPANY, L.L.C., IN THE DEED RECORDED DECEMBER 10, 1996 AS INSTRUMENT NO.
         19960624029 OF OFFICIAL RECORDS.

         PARCEL NO. 2

         NON-EXCLUSIVE EASEMENTS FOR ACCESS, INGRESS, EGRESS, USE AND ENJOYMENT, DRAINAGE,
         ENCROACHMENT, MAINTENANCE AND REPAIRS, ALL AS DESCRIBED IN THE MASTER DECLARATION OF
         COVENANTS, CONDITIONS, RESTRICTIONS AND RESERVATION OF EASEMENTS FOR LADERA RANCH ("MASTER
         DECLARATION"), RECORDED JUNE 18, 1999 AS INSTRUMENT NO. 19990456273, AND THE SUPPLEMENTAL
         MASTER DECLARATION OF COVENANTS, CONDITIONS, RESTRICTIONS AND RESERVATION OF EASEMENTS FOR
         PHASE 5 OF SAVANNAH, RECORDED MAY 13, 2002 AS INSTRUMENT NO. 20020398478, AND AMENDED BY THE
         FIRST AMENDMENT TO SUPPLEMENTAL MASTER DECLARATION OF COVENANTS, CONDITIONS, RESTRICTIONS
         AND RESERVATION OF EASEMENTS FOR PHASE 5 OF SAVANNAH, RECORDED JULY 18, 2002 AS INSTRUMENT
         NO. 20020598706 (COLLECTIVELY THE "SUPPLEMENTAL DECLARATION"), OF OFFICIAL RECORDS OF ORANGE
         COUNTY, CALIFORNIA, AND THE MAP.
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         PARCEL NO. 3

         A SIDEYARD EASEMENTS AS APPLICABLE, FOR SIDEYARD PURPOSES OVER A PORTION OF THE LOT ADJOINING
         AND ABUTTING THE PROPERTY AS SHOWN AND DESCRIBED IN THE SUPPLEMENTAL DECLARATION, SUBJECT
         TO THE USE RESTRICTIONS SET FORTH IN THE SUPPLEMENTAL DECLARATION.

         APN: 759-591-04

4.       Secured Claim Amount
            a. Value of Collateral:........................................................................................... $580,000.00
            b. Amounts of Senior Liens (reducing equity in the property to which the Subject Lien can attach):
                    (1) First lien: ................................................................... ($672,564.05)
                    (2) Second lien: .............................................................. ($                   )
                    (3) Third lien: .................................................................. ($                )
                    (4) Additional senior liens (attach list): ............................ ($                            )
            c. Amount of Debtor's exemption(s): ........................................... ($1.00)
            d. Subtotal: ....................................................................................................... ($672,565.05)
            e. Secured Claim Amount (negative results should be listed as -$0-): .............. $-0.00-

              Unless otherwise ordered, any allowed claim in excess of this Secured Claim Amount is to be treated as a
              nonpriority unsecured claim and is to be paid pro rata with all other nonpriority unsecured claims (in Chapter
              13 cases, Class 5A of the Plan).

5.       Lien avoidance: Debtor’s request to avoid the Subject Lien is granted as follows. The fixing of the Subject Lien
         impairs an exemption to which Debtor would otherwise be entitled under 11 U.S.C. § 522(b). The Subject Lien is
         not a judicial lien that secures a debt of a kind that is specified in 11 U.S.C. § 523(a)(5) (domestic support
         obligations). The Subject Lien is void and unenforceable except to the extent of the Secured Claim Amount, if
         any, listed in paragraph 4.e. above.

     See attached page(s) for more liens/provisions.




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                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
120 Vantis Dr Suite 300
Aliso Viejo, CA 92656

A true and correct copy of the foregoing document entitled (specify): Debtors Notice of Motion and Motion to Avoid Lien under
11 U.S.C. § 522(f) (Real Property) will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On November 30, 2019 , I checked the
CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail
Notice List to receive NEF transmission at the email addresses stated below:

    •    Thomas H Casey (TR) (msilva@tomcaseylaw.com, thc@trustesolutions.net)
    •    Christina J Khil on behalf of Creditor CALIBER HOME LOANS, INC. (christinao@mclaw.org, CACD_ECF@mclaw.org;
         mcecfnotices@ecf.courtdrive.com)
    •    Derik N Lewis on behalf of Debtor Collin Gibellino (dlewis@vantislaw.com, esieg@vantislaw.com,
         vantislaw@ecf.courtdrive.com; lewisdr84665@notify.bestcase.com)
    •    Sabari Mukherjee on behalf of Interested Party Courtesy NEF (notices@becket-lee.com)
    •    Valerie Smith on behalf of Interested Party Courtesy NEF (claims@recoverycorp.com)
    •    Jeffrey Speights on behalf of Attorney Ladera Ranch Maintenance Corp. (jeffs@attorneyforhoa.com,
         jeffreyspeights@gmail.com)
    •    United States Trustee (SA) (ustpregion16.sa.ecf@usdoj.gov)

                                                                                   Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On November 30, 2019 , I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.



                                                                                   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on       , I served the following persons and/or entities by
personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                   Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
 November 30, 2019            Eva J. Sieg                                             /s/ Eva J. Sieg
 Date                         Printed Name                                            Signature




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SERVED BY UNITED STATES MAIL, CERTIFIED MAIL OR OVERNIGHT MAIL (indicate method for each person or
entity served):
(Attached page to Proof of Service-please include any additional or alternative addresses and attach additional pages if needed)
(Certified Mail required for service on a national bank.)

 1st lienholder (name and address)                  Address from:                                      Delivery Method
                                                       Proof of Claim      Secretary of State              United States mail
 Caliber Home Loans, Inc.                              FDIC website        Other: specify                  Certified mail -
 Attn: Sanjiv Das, CEO
                                                                                                       Tracking#
 1525 South Belt Line Road
 Coppell, TX 75019                                                                                         Overnight mail -
                                                                                                       Tracking#
                                                                                                       Carrier Name:

 1st lienholder (name) and Agent for                Address from:                                      Delivery Method
 Service of Process (name and address)                 Proof of Claim      Secretary of State              United States mail
                                                       FDIC website        Other: specify                  Certified mail -
 Caliber Home Loans, Inc.
                                                                                                       Tracking#
 c/o CT Corporation Sysem
 818 West Seventh Street, Suite 930                                                                        Overnight mail -
 Los Angeles, CA 90017                                                                                 Tracking#
                                                                                                       Carrier Name:

 1st lienholder (name) and Servicing                Address from:                                      Delivery Method
 Agent (name and address)                              Proof of Claim      Secretary of State              United States mail
                                                       FDIC website        Other: specify                  Certified mail -
                                                                                                       Tracking#
                                                                                                           Overnight mail -
                                                                                                       Tracking#
                                                                                                       Carrier Name:


 2nd lienholder (name and address)                  Address from:                                      Delivery Method
                                                       Proof of Claim      Secretary of State              United States mail
                                                       FDIC website        Other: specify                  Certified mail -
                                                                                                       Tracking#
                                                                                                           Overnight mail -
                                                                                                       Tracking#
                                                                                                       Carrier Name:

 2nd lienholder (name) and Agent for                Address from:                                      Delivery Method
 Service of Process (name and address)                 Proof of Claim      Secretary of State              United States mail
                                                       FDIC website        Other: specify                  Certified mail -
                                                                                                       Tracking#
                                                                                                           Overnight mail -
                                                                                                       Tracking#
                                                                                                       Carrier Name:

 2nd lienholder (name) and Servicing                Address from:                                      Delivery Method
 Agent (name and address)                              Proof of Claim      Secretary of State              United States mail
                                                       FDIC website        Other: specify                  Certified mail -
                                                                                                       Tracking#
                                                                                                           Overnight mail -
                                                                                                       Tracking#
                                                                                                       Carrier Name:


 3rd lienholder (name and address)                  Address from:                                      Delivery Method
                                                       Proof of Claim      Secretary of State              United States mail
                                                       FDIC website        Other: specify                  Certified mail -
                                                                                                       Tracking#
                                                                                                           Overnight mail -
                                                                                                       Tracking#
                                                                                                       Carrier Name:


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 3rd lienholder (name) and Agent for               Address from:                                     Delivery Method
 Service of Process (name and address)                Proof of Claim     Secretary of State              United States mail
                                                      FDIC website       Other: specify                  Certified mail -
                                                                                                     Tracking#
                                                                                                         Overnight mail -
                                                                                                     Tracking#
                                                                                                     Carrier Name:

 3rd lienholder (name) and Servicing               Address from:                                     Delivery Method
 Agent (name and address)                             Proof of Claim     Secretary of State              United States mail
                                                      FDIC website       Other: specify                  Certified mail -
                                                                                                     Tracking#
                                                                                                         Overnight mail -
                                                                                                     Tracking#
                                                                                                     Carrier Name:


 Alternative/additional address                    Address from:                                     Delivery Method
 (name and address)                                   Proof of Claim     Secretary of State              US Mail
                                                      FDIC website       Other: specify                  Certified Mail -
                                                                                                     Tracking#
                                                                                                         Overnight Mail -
                                                                                                     Tracking#
                                                                                                     Carrier Name:

 Alternative/additional address                    Address from:                                     Delivery Method
 (name and address)                                   Proof of Claim     Secretary of State              US Mail
                                                      FDIC website       Other: specify                  Certified Mail -
                                                                                                     Tracking#
                                                                                                         Overnight Mail -
                                                                                                     Tracking#
                                                                                                     Carrier Name:




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                                                                  SERVICE LIST


DEBTOR VIA REGULAR MAIL
Collin Gibellino
8 Snapdragon
Ladera Ranch, CA 92694

JUDGE’S COPY VIA US MAIL
The Honorable Catherine E. Bauer
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5165 / Courtroom 5D
Santa Ana, CA 92701-4593


CREDITOR VIA U.S. MAIL                                                         CREDITOR VIA U.S. MAIL
Ladera Ranch Maintenance Corp                                                  County of Orange
Attn: Joe W Ribotto, CEO                                                       Orange County Executive Office
15241 Laguna Canyon Road                                                       Attn: Frank Kim, CEO
Irvine, CA 92618                                                               333 W Santa Ana Blvd
                                                                               Santa Ana, CA 92701
CREDITOR VIA U.S. MAIL TO AGENT FOR SERVICE OF
PROCESS                                                                        CREDITOR VIA CERTIFIED MAIL
Ladera Ranch Maintenance Corp                                                  Internal Revenue Service
c/o FirstService Agent Corporation                                             P.O. Box 7346
15241 Laguna Canyon Road                                                       Philadelphia, PA 19101-7346
Irvine, CA 92618
                                                                               CREDITOR (IRS) VIA CERTIFIED MAIL TO CIVIL PROCESS
CREDITOR VIA CERTIFIED MAIL                                                    CLERK
Citibank (South Dakota) N.A.                                                   Civil Process Clerk
Attn: Barbara J. Desoer, CEO                                                   United States Attorney’s Office
701 East 60th Street North                                                     Federal Building, Room 7516
Sioux Falls, SD, 57104-0493                                                    300 North Los Angeles Street
                                                                               Los Angeles, CA 90012
CREDITOR VIA U.S. MAIL
Alexander & Veronica Z                                                         CREDITOR (IRS) VIA US MAIL TO THE ATTORNEY
c/o County of Orange – Accounting Unit                                         GENERAL OF THE UNITED STATES
P.O. Box 10260                                                                 Office of the Attorney General of the United States
Santa Ana, CA 92711                                                            United States Department of Justice
                                                                               Ben Franklin Station
CREDITOR VIA U.S. MAIL                                                         P. O. Box 683
Felicia M                                                                      Washington, DC 20044
c/o County of Orange – Accounting Unit
P.O. Box 10260
Santa Ana, CA 92711

CREDITOR VIA U.S. MAIL
Melissa H
c/o County of Orange – Accounting Unit
P.O. Box 10260
Santa Ana, CA 92711

CREDITOR VIA U.S. MAIL
Shelly M
c/o County of Orange – Accounting Unit
P.O. Box 10260
Santa Ana, CA 92711

CREDITOR VIA U.S. MAIL
Orange County Probation Department
1055 N. Main Street
Santa Ana, CA 92701


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